                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

In re:                                       )
                                             )         Chapter 11
Curae Health, Inc.,                          )         Case No. 18-05665
Amory Regional Medical Center, Inc.,         )         Case No. 18-05675
Batesville Regional Medical Center, Inc.,    )         Case No. 18-05676
Clarksdale Regional Medical Center, Inc.     )         Case No. 18-05678
Amory Regional Physicians, LLC               )         Case No. 18-05680
Batesville Regional Physicians, LLC          )         Case No. 18-05681
Clarksdale Regional Physicians, LLC          )         Case No. 18-05682
                                             )
1721 Midpark Road, Suite B200                )         Judge Walker
Knoxville, TN 37921                          )
                           Debtors.          )         Joint Administration Pending

 EXPEDITED MOTION OF DEBTORS FOR ENTRY OF AN ORDER AUTHORIZING
  THE DEBTORS TO FILE A CONSOLIDATED LIST OF LARGEST UNSECURED
                            CREDITORS

         The above-captioned debtors and debtors in possession (the “Debtors”) hereby move the

Court (the “Motion”), pursuant to sections 105(a) of title 11 of the United States Code (the

“Bankruptcy Code”); Rule 1007(d) of Federal Rules of Bankruptcy Procedure (“Bankruptcy

Rules”) for entry of an order, substantially in the form of Exhibit A attached hereto (the

“Proposed Order”), authorizing the Debtors to file a consolidated list of largest unsecured

creditors. In support of the Motion, the Debtors rely upon the Declaration of Stephen Clapp,

Chief Executive Officer of Curae Health, Inc., in Support of Chapter 11 Petitions and First Day

Pleadings, filed with the Court concurrently herewith (the “First Day Declaration”). In further

support of the Motion, the Debtors, by and through their undersigned counsel, respectfully

represent:

                                JURISDICTION AND VENUE

         1.     This Court has jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and

1334. This is a core proceeding under 28 U.S.C. § 157(b). Venue of these cases and the Motion


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in this district is proper under 28 U.S.C. §§ 1408 and 1409.

         2.    The statutory predicates for the relief requested herein are Bankruptcy Code

section 105(a) and Bankruptcy Rule 1007(d).

                                         BACKGROUND

         3.    On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition in this Court commencing a case for relief under chapter 11 of the Bankruptcy Code (the

“Chapter 11 Cases”). The factual background regarding the Debtors, including their business

operations, their capital and debt structures, and the events leading to the filing of the Chapter 11

Cases, is set forth in detail in the First Day Declaration and fully incorporated herein by

reference.

         4.    Concurrently with the filing of this Motion, the Debtors have requested

procedural consolidation and joint administration of the Chapter 11 Cases pursuant to

Bankruptcy Rule 1015(b). The Debtors continue to manage and operate their business as debtors

in possession pursuant to Bankruptcy Code sections 1107 and 1108. No trustee or examiner has

been requested in the Chapter 11 Cases and no committees have yet been appointed.

                                     RELIEF REQUESTED

         5.    By this Motion, the Debtors seek entry of an order pursuant to Bankruptcy Rule

1007(d), authorizing the Debtors to file a consolidated list of largest unsecured creditors.

                                      BASIS FOR RELIEF

         6.    Bankruptcy Rule 1007(d) requires a debtor to file a list of the creditors that hold

the twenty largest unsecured claims against the debtor, excluding insiders. FED. R. BANKR. P.

1007(d). The purpose of the list prescribed by Bankruptcy Rule 1007(d) is to inform the U.S.

Trustee to appoint a properly representative committee under section 1102 of the Bankruptcy

Code.

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         7.    These Chapter 11 Cases involve seven Debtors with over one thousand creditors.

Many of the creditors, however, are relatively small in amount. On the other hand, the thirty

largest creditors on the consolidated list of creditors in these Chapter 11 Cases represent claims

exceeding $100,000.00. Many of the largest creditors are creditors of each of the Debtors.

Accordingly, in lieu of filing a separate list of the creditors holding the twenty largest unsecured

claims in each of the Chapter 11 Cases, the Debtors request authority to file a consolidated list of

the thirty (30) largest unsecured creditors (the “Consolidated Creditor List”).

         8.    The Debtors are affiliates as that term is used in the Bankruptcy Code and have

many of the same creditors. Contemporaneously herewith, the Debtors have filed a motion

requesting joint administration of the Chapter 11 Cases. Allowing the Debtors to file the

Consolidated Creditor List will facilitate the U.S. Trustee’s formation of a committee that

adequately represents unsecured creditors’ interests in the Chapter 11 Cases.

         9.    Here, good and sufficient cause exists under Bankruptcy Rule 1007(d) to grant the

Motion. The Debtors have over one thousand creditors, and contemporaneously herewith, the

Debtors’ have filed a list of all creditors of the Debtors.

         10.   In light of the foregoing, authority to file the Consolidated Creditor List is in the

best interest of the Debtors’ estates and will facilitate the efficient and orderly administration of

the Chapter 11 Cases.

                                              NOTICE

         11.   Notice of this Motion will be given to: (a) the Office of the United States Trustee

for the Middle District of Tennessee; (b) the Centers for Medicare and Medicaid Services; (c) the

State of Tennessee Department of Health Division of Licensure and Regulation Office of Health

Care Facilities; (d) the Mississippi State Department of Health; (e) those parties listed on the

consolidated list of creditors holding the thirty (30) largest unsecured claims against the Debtors;

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(f) counsel to any official committee(s) establish in these cases pursuant to Section 1102 of the

Bankruptcy Code; (g) ServisFirst Bank and its counsel; (h) Midcap Financial Trust and its

counsel; (i) CHS/Community Health Systems, Inc. and its counsel; (j) all Tennessee local

counsel having entered a notice of appearance in these cases; (k) the Internal Revenue Service;

(l) the Tennessee Attorney General’s Office; (m) the Mississippi Attorney General’s Office; (n)

the Tennessee Secretary of State; and (o) any party that has requested notice pursuant to

Bankruptcy Rule 2002. The Debtors submit that, under the circumstances, no other or further

notice is required.

                                    NO PRIOR REQUEST

         12.   No previous request for the relief sought herein has been made to this Court or

any other court.

         WHEREFORE, the Debtors respectfully request that the Court enter an order,

substantially in the form of the proposed order attached hereto as Exhibit A, granting the relief

requested in the Motion and such other and further relief as may be just and proper.

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Dated: August 24, 2018                 Respectfully submitted,
       Nashville, Tennessee
                                       POLSINELLI PC
                                        /s/ Michael Malone
                                       Michael Malone
                                       401 Commerce Street, Suite 900
                                       Nashville, TN 37219
                                       Telephone: (615) 259-1510
                                       Facsimile: (615) 259-1573
                                       mmalone@polsinelli.com

                                       -and-

                                       David E. Gordon (Pro Hac Vice Pending)
                                       Caryn E. Wang (Pro Hac Vice Pending)
                                       1201 West Peachtree Street NW
                                       Atlanta, Georgia
                                       Telephone: (404) 253-6000
                                       Facsimile: (404) 684-6060
                                       dgordon@polsinelli.com
                                       cewang@polsinelli.com

                                       Proposed Counsel to the Debtors and
                                       Debtors in Possession




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                                   EXHIBIT A

                                  Proposed Order




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                                                    )
1721 Midpark Road, Suite B200                       )          Judge Walker
Knoxville, TN 37921                                 )
                           Debtors.                 )          Joint Administration Pending


    EXPEDITED ORDER AUTHORIZING THE DEBTORS TO FILE A CONSOLIDATED
                 LIST OF LARGEST UNSECURED CREDITORS

         Upon the motion (the “Motion”)1 of the Debtors for an order, under Bankruptcy Rule

1007(d), authorizing the Debtors to file a consolidated list of largest unsecured creditors; and the

Court having reviewed the Motion; and the Court having determined that the relief requested in

the Motion is in the best interests of the Debtors, their estates, their creditors and other parties in

interest; and the Court having jurisdiction to consider the Motion and the relief requested therein

in accordance with 28 U.S.C. §§ 157 and 1334; and it appearing that proper and adequate notice

of the Motion has been given and that no other or further notice is necessary; and upon the record

herein; and after due deliberation thereon; and good and sufficient cause appearing therefor, it is

hereby

         ORDERED, ADJUDGED AND DECREED THAT:

         1.     The Motion is GRANTED, as set forth herein.


1
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Motion.



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         2.    The Debtors are authorized to file a consolidated list of largest unsecured

creditors in the Chapter 11 Cases consisting of the thirty (30) largest unsecured creditors in the

Chapter 11 Cases.

         3.    The Order shall be effective and enforceable upon entry hereof.

         4.    This Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation and/or interpretation of this Order.

This Order Was Signed And Entered Electronically As Indicated At The Top Of The First
Page

APPROVED FOR ENTRY:

POLSINELLI PC

/s/ Michael Malone
Michael Malone
401 Commerce Street, Suite 900
Nashville, TN 37219
Telephone: (615) 259-1510
Facsimile: (615) 259-1573
mmalone@polsinelli.com

-and-

David E. Gordon (Pro Hac Vice Pending)
Caryn E. Wang (Pro Hac Vice Pending)
1201 West Peachtree Street NW
Atlanta, Georgia
Telephone: (404) 253-6000
Facsimile: (404) 684-6060
dgordon@polsinelli.com
cewang@polsinelli.com

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